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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION
                                            .
 COURTNEY S. JONES,

        Plaintiff,
                                                     Case No. 3:21-cv-03242
 v.

 LOCKHART, MORRIS & MONTGOMERY,
 INC.,

        Defendant.

                                 NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that COURTNEY S. JONES (“Plaintiff”) and LOCKHART,

MORRIS & MONTGOMERY, INC. (“Defendant”), hereby notify the Court the parties have

reached settlement, and are in the process of completing the settlement agreement and filing

dismissal papers. The parties anticipate filing dismissal papers within 60 days.



 DATED: January 13, 2022                             Respectfully submitted,

                                                     COURTNEY S. JONES
                                                     By: /s/ Mohammed O. Badwan

                                                     Mohammed O. Badwan
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                                CERTIFICATE OF SERVICE

        I hereby certify that I today caused a copy of the foregoing document to be electronically
filed with the Clerk of Court using the CM/ECF system, which will be sent to all attorneys of
record.
                                                              /s/ Mohammed O. Badwan
                                                              Mohammed O. Badwan, Esq




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